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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

HOWARD COHAN, CASE NO.:
Plaintiff,
VS. INJUNCTIVE RELIEF SOUGHT
CHAR HUT 84 INC.,
d/b/a CHAR HUT 84,

CHAR HUT OF PEMBROKE PINES,
d/b/a CHAR HUT, and

CHAR-HUT OF AMERICA INC.,
d/b/a CHAR-HUT OF EAST
COMMERCIAL,

Defendant,

COMPLAINT

Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,
hereby files this Complaint and sues CHAR HUT 84 INC., d/b/a CHAR HUT 84, CHAR HUT
OF PEMBROKE PINES, d/b/a CHAR HUT, and CHAR-HUT OF AMERICA INC., d/b/a CHAR-
HUT OF EAST COMMERCIAL, (“Defendant”), for declaratory and injunctive relief, attorney’s
fees, expenses and costs (including, but not limited to, court costs and expert fees) pursuant to 42
U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”) and alleges as
follows:

JURISDICTION AND VENUE
1. This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 343 for Plaintiff's claims arising under Title 42 U.S.C. § 12182 et. seq., based on
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Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the
2010 ADA Standards.

2. Venue is proper in this Court, Southern District of Florida, Fort Lauderdale
Division, pursuant to 28 U.S.C. §1391(B) and the Internal Operating Procedures for the United
States District Court for the Southern District of Florida in that all events giving rise to the lawsuit
occurred in Broward County, Florida.

PARTIES

3. Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida
residing in Palm Beach County, Florida.

4. Upon information and belief, Defendant, CHAR HUT 84 INC., d/b/a CHAR HUT
84 is the lessee, operator, owner and/or lessor of the Real Property, which is subject of this suit,
and is located at 9000 W. State Rd. 84, Fort Lauderdale, FL 33324 (hereinafter referred to as
“Premise #1”) and is the owner of the improvements where Premise #1 is located.

5 Upon information and belief, Defendant CHAR HUT OF PEMBROKE PINES,
d/b/a CHAR HUT is the lessee, operator, owner and/or lessor of the Real Property, which is subject
of this suite, and is located at 12221 Taft Street, Pembroke Pines, FL 33026 (hereinafter referred
to as “Premise #2”) and is the owner of the improvements where Premise #2 is located.

6. Upon information and belief, Defendant CHAR-HUT OF AMERICA INC., d/b/a
CHAR-HUT OF EAST COMMERCIAL, is the lessee, operator, owner and/or lessor of the Real
Property, which is subject of this suite, and is located at 753 E. Commercial Blvd., Oakland Park,
FL 33334 (hereinafter referred to as “Premise #3”) and is the owner of the improvements where
Premise #3 is located. (Premise #1, Premise #2 and Premise #3 hereinafter collectively referred to

as “Premises”).
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7. Defendants are authorized to conduct, and are in fact conducting, business within
the State of Florida.

8. Plaintiff is an individual with numerous disabilities including severe spinal stenosis
of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical spine with nerve
root compromise on the right side; a non-union fracture of the left acromion (shoulder); a labral
tear of the left shoulder; a full thickness tear of the ri ght rotator cuff; a right knee medial meniscal
tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe basal joint arthritis of
the left thumb. The above listed permanent disabilities and symptoms cause sudden onsets of
severe pain and substantially limit Plaintiff's major life activities. At the time of Plaintiff's visit
to Premise #1 on December 06, 2018, Premise #2 on December 05, 2018, and Premise #3 on
November 10, 2018, (and prior to instituting this action), Plaintiff suffered from a “qualified
disability” under the ADA, and required the use of bathroom facilities, a continuous path of travel
connecting all essential elements of the facility and the use of other means of accessibility for
persons with disabilities. Plaintiff personally visited the Premises, but was denied full and equal
access and full and equal enjoyment of the facilities, services, goods, and amenities within the
Premises, even though he would be classified as a “bona fide patron”.

9. Plaintiff will avail himself of the services offered at the Premises in the future,
provided that Defendant modifies the Premises or modifies the policies and practices to
accommodate individuals who have physical disabilities.

10. Completely independent of the personal desire to have access to this place of public
accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of
discovering, encountering and engaging discrimination against the disabled in public

accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff
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personally visits the public accommodation; engages all of the barriers to access, or at least of
those that Plaintiff is able to access; tests all of those barriers to access to determine whether and
the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such
discrimination; and subsequently returns to Premises to verify its compliance or non-compliance
with the ADA and to otherwise use the public accommodation as members of the able-bodied
community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit
the Premises regularly to verify its compliance or non-compliance with the ADA, and its
maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff's
individual capacity and as a “tester”, visited Premises, encountered barriers to access at Premises, —
and engaged and tested those barriers, suffered legal harm and legal injury, and will continue to
suffer such harm and injury as a result of the illegal barriers to access and the ADA violations set
forth herein. It is Plaintiff's belief that said violations will not be corrected without Court

intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

11. Plaintiff adopts and re-alleges the allegations stated in paragraphs | through 8
above as if fully stated herein.

12. On July 26, 1990, Congress enacted the Americans With Disabilities Act
(“ADA”)), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5)
years from enactment of the statute to implement its requirements. The effective date of Title III
of the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer
employees and gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

13. As stated in 42 U.S.C § 12101(a)(1)-(3),(5) and (9) Congress found, among other

things, that:
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a. some 43,000,000 Americans have one or more physical or mental disabilities,
and this number shall increase as the population continues to grow older:

b. historically, society has tended to isolate and segregate individuals with
disabilities and, despite some improvements, such forms of discrimination
against disabled individuals continue to be a pervasive social problem,
requiring serious attention

c. discrimination against disabled individuals persists in such critical areas as
employment, housing, public accommodations, transportation, communication,
recreation, institutionalization, health services, voting and access to public
services and public facilities;

d. individuals with disabilities continually suffer forms of discrimination,
including outright intentional exclusion, the discriminatory effects of
architectural, transportation, and communication barriers, failure to make
modifications to existing facilities and practices. Exclusionary qualification
standards and criteria, segregation, and regulation to lesser services, programs,
benefits, or other opportunities; and,

e. the continuing existence of unfair and unnecessary discrimination and prejudice
denies people with disabilities the opportunity to compete on an equal basis
and to pursue those opportunities for which our country is justifiably famous,
and accosts the United States billions of dollars in unnecessary expenses
resulting from dependency and non-productivity.

14. As stated in 42 U.S.C. § 12101(b)(1)(2) and (4) Congress explicitly stated that the

purpose of the ADA was to:
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a. provide a clear and comprehensive national mandate for elimination of
discrimination against individuals with disabilities;

b. provide clear, strong, consistent, enforceable standards addressing discrimination
against individuals with disabilities; and

c. invoke the sweep of congressional authority, including the power to enforce the
fourteenth amendment and to regulate commerce, in order to address the major
areas of discrimination faced on a daily basis by people with disabilities.

15. Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA Standards,
Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it
provides services to the general public and must be in compliance therewith. The building and/or
Premises, which is the subject of this action, is a public accommodation covered by the ADA and
which must be in compliance therewith.

16. | Defendant has discriminated and continues to discriminate against Plaintiff and
others who are similarly situated, by denying access to, and full and equal enjoyment of goods,
Services, facilities, privileges, advantages and/or accommodations located at the Premises, as
prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove
architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

17. Plaintiff has visited the Premises, and has been denied full and safe equal access to
the facility and therefore suffered an injury in fact.

18. Plaintiff would like to return and enjoy the goods and/or services at Premises on a
spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

Defendant’s failure and refusal to provide disabled persons with full and equal access to their
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facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the
architectural barriers that are in violation of the ADA.

19. Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department
of Justice, Officer of the Attorney General promulgated Federal Regulations to implement the
requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA Standards ADA
Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36, under which said
Department may obtain civil penalties of up to $55,000.00 for the first violation and $1 10,000.00
for and subsequent violation.!

20. Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010 American
Disabilities Act Standards et. seq., and is discriminating against Plaintiff as a result of, inter alia,
the following specific violations:

Premise #1
9000 W. State Rd 84. Fort Lauderdale, FL 33324

A. Door To Restrooms:
a. Providing a gate or door with a continuous opening pressure of greater than 5 Ibs.
exceeding the limits for a person with a disability in violation of 2010 ADAAG
§§404, 404.1, 404.2, 404.2.9 and 309.4.
B. Men’s Accessible Restroom:
a. Providing a gate or door with a continuous opening pressure of greater than 5 Ibs.
exceeding the limits for a person with a disability in violation of 2010 ADAAG

§§404, 404.1, 404.2, 404.2.9 and 309.4.

 

1 Effective April 1, 2014 the civil penalties were increased, based on inflation, from $55,000.00 to
$75,000.00 for the first violation and from $110,000.00 to $150,000.00 for subsequent violations. See
C.F.R. §§36 and 85.
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b. Failing to provide operable, door lock, that is functional or are in the proper reach
ranges as required for a person with a disability in violation of 2010 ADAAG
§§309, 309.1, 309.2, 309.3, 309.4 and 308.

c. Failing to provide a coat hook within the proper reach ranges for a person with a
disability in violation of 2010 ADAAG §§603, 603.4 and 308.

d. Failing to provide toilet paper dispensers in the proper position in front of the water
closet or at the correct height above the finished floor in violation of 2010 ADAAG
§§604, 604.7 and 309.4.

e. Failing to provide the proper spacing between a grab bar and toilet paper dispenser
projecting out of the wall in violation of 2010 ADAAG §§609, 609.1 and 609.3.

f. Failing to provide the proper insulation or protection for plumbing or other sharp
or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§606
and 606.5.

g. Failing to provide mirror(s) located above lavatories or countertops at the proper
height above the finished floor in violation of 2010 ADAAG §§603 and 603.3.

h. Failing to provide proper signage for an accessible restroom or failure to redirect a
person with a disability to the closest available accessible restroom facility in
violation of 2010 ADAAG §§216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,
703.5 and 703.7.2.1.

C. Shared Unisex General Area:

a. Failing to provide proper knee clearance for a person with a disability under a

counter or sink element in violation of 2010 ADAAG §§306, 306.1 306.3, 606 and

606.2.
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b. Failing to provide mirror(s) located above lavatories or countertops at the proper
height above the finished floor in violation of 2010 ADAAG §§603 and 603.3.

c. Failing to provide proper toe clearance for a person witha disability under a counter
or sink element in violation of 2010 ADAAG §§306, 306.1, 306.2, 306.2.1, 606
and 606.2.

D. Restaurant Seating:

a. Failing to provide seating for a person(s) with a disability that has the correct clear
floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305
and 306.

b. Failing to provide a sufficient amount of seating when dining surfaces are provided
for the consumption of food or drink for a person(s) with a disability in violation of
2010 ADAAG §§226, 226.1, 902, 305 and 306.

Premise #2
12221 Taft Street, Pembroke Pines, FL 333026

A. Men’s Restroom:

a. Providing a swinging door or gate with improper maneuvering clearance(s) due to
a wall or some other obstruction that does not comply with the standards set forth
in 2010 ADAAG §§ 404, 404.1, 404.2, 404.2.3, 404.2.4 and 404.2.4.1.

b. Providing a gate or door with a continuous opening pressure of greater than 5 Ibs.
exceeding the limits for a person with a disability in violation of 2010 ADAAG §§
404, 404.1, 404.2, 404.2.9 and 309.4.

c. Failing to provide the water closet in the proper position relative to the side wall or

partition in violation of 2010 ADAAG §§ 604 and 604.2.
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d. Failing to provide the proper spacing between a grab bar and an object projecting
out of the wall in violation of 2010 ADAAG §§ 609, 609.1 and 609.3. (toilet paper
dispenser)

e. Providing grab bars of improper horizontal length or spacing as required along the
rear or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.

f. Failing to provide grab bars at 33 inches minimum and 36 inches maximum above
the finished floor measured to the top of the gripping surface in violation of 2010
ADAAG §§ 609, 609.4 and 609.7.

g. Failing to provide soap dispenser or its operable part at the correct height above the
finished floor in violation of 2010 ADAAG §§606, 606.1 and 308.

h. Failing to provide the proper spacing between a grab bar and an object projecting
out of the wall in violation of 2010 ADAAG §§603 and 603.3. (soap dispenser)

i. Failing to provide mirror(s) located above lavatories or countertops in the proper
height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.

j. Failing to provide toilet paper dispensers in the proper position in front of the water
closet or at the correct height above the finished floor in violation of 2010 ADAAG
§§ 604, 604.7 and 309.4.

B. Restaurant Seating:

a. Failing to provide seating for a person(s) with a disability that has the correct clear

floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305

and 306.

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b. Failing to provide a sufficient amount of seating when dining surfaces are provided
for the consumption of food or drink for a person(s) with a disability in violation of
2010 ADAAG §§226, 226.1, 902, 305 and 306.

Premise #3
753 E Commercial Blvd. Oakland Park, FL 33334
A. Men’s Restroom:

a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.
exceeding the limits for a person with a disability in violation of 2010 ADAAG §§
404, 404.1, 404.2, 404.2.9 and 309.4.

b. Failing to provide sufficient clear floor space around a water closet without any
obstructing elements in this space in violation of 2010 ADAAG §§ 4.22.3, 603,
603.2.3, 604, 604.3, 604.3.1 and 604.8

c. Failing to provide the proper insulation or protection for plumbing or other sharp
or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606
and 606.5.

d. Providing grab bars of improper horizontal length or spacing as required along the
rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

e. Failing to provide toilet paper dispensers in the proper position in front of the water
closet or at the correct height above the finished floor in violation of 2010 ADAAG
§§604, 604.7 and 309.4.

f. Failing to provide a coat hook within the proper reach ranges for a person with a

disability in violation of 2010 ADAAG 8§ 603, 603.4 and 308.

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g. Failing to provide soap dispenser or its operable part at the correct height above the
finished floor in violation of 2010 ADAAG §§606, 606.1 and 308.
B. Indoor Restaurant Seating:
a. Failing to provide seating for a person(s) with a disability that has the correct clear
floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305
and 306.
b. Failing to provide a sufficient amount of seating when dining surfaces are provided
for the consumption of food or drink for a person(s) with a disability in violation of
2010 ADAAG §§226, 226.1, 902, 305 and 306.
C. Qutside Restaurant Seating:
a. Failing to provide seating for a person(s) with a disability that has the correct clear
floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305
and 306.
b. Failing to provide a sufficient amount of seating when dining surfaces are provided
for the consumption of food or drink for a person(s) with a disability in violation of

2010 ADAAG §§226, 226.1, 902, 305 and 306.

21. To the best of Plaintiffs belief and knowledge, Defendant has failed to eliminate
the specific violations set forth in paragraph 20 herein.

22. Although Defendant is charged with having knowledge of the violations, the
Defendant may not have actual knowledge of said violations until this Complaint makes Defendant

aware of same.

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23. To date, the readily achievable barriers and other violations of the ADA still exist
and have not been remedied or altered in such a way as to effectuate compliance with the
provisions of the ADA.

24. Pursuant to the ADA, 42 U.S.C. § 12101 et. seq., and 28 C.F.R. § 36.304, the
Defendant was required to make the establishment a place of public accommodation, accessible to
persons with disabilities by January 28, 1992. As of the date of the filing of this Complaint,
Defendant has failed to comply with this mandate.

25. Plaintiff has retained the undersigned counsel for the filing and prosecution of this
action. Plaintiff is entitled to have his reasonable attorney’s fees, costs and expenses paid by
Defendant, pursuant to 42 U.S.C § 12205.

26. All of the above violations are readily achievable to modify in order to bring
Premises or the Facility/Property into compliance with the ADA.

27. In instance(s) where the 2010 ADAAG standard does not apply, the 1991 ADAAG
standard applies and all of the violations listed in paragraph 20 herein can be applied to the 1991
ADAAG standards.

28. Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant
Plaintiffs injunctive relief, including an order to alter the subject facility to make them readily
accessible to and useable by individuals with disabilities to the extent required by the ADA and
closing the Subject Facility until the requisite modifications are completed.

WHEREFORE, Plaintiff demands judgment against Defendant and requests the following
injunctive and declaratory relief:

1. That this Court declares that Premises owned, operated and/or controlled by

Defendants are in violation of the ADA;

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2. That this Court enter an Order requiring Defendants to alter their facilities to make
them accessible to and usable by individuals with disabilities to the full extent
required by Title ITI of the ADA;

3. That this Court enter and Order directing the Defendants to evaluate and neutralize
their policies, practices and procedures toward persons with disabilities, for such
reasonable time so as to allow the Defendant to undertake and complete corrective
procedures to Premises;

4, That this Court award reasonable attorney’s fees, all costs (including, but not
limited to the court costs and expert fees) and other expenses of suit to the Plaintiff;
and,

5. That this Court award such other and further relief as it may deem necessary, just
and proper.

Dated this 21% day of June 2019.

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